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                                                        January 5, 2021
   Hon. Lorna G. Schofield
   United States Circuit Court Judge
   Southern District of New York
   United States Courthouse
   40 Foley Square
   New York, NY 10007


   Filed on ECF
                                  Re: United States v. Michael Lamar
                                           17 Cr. 610 (LGS)


   Dear Judge Schofield:
           We represent the defendant Michael Lamar pursuant to the Criminal Justice Act. We write
   to update the Court with sad news. Unfortunately, Michael did not make it to the rehab program
   and, after being released from the hospital, he died this past weekend from an apparent overdose.
   Accordingly, the Court should take whatever action is deemed appropriate with respect to the
   docket.


The Court thanks the parties for their efforts and is          Respectfully submitted,
saddened by this news. Whereas there are no pending
matters before the Court. The Clerk of the Court is
directed to terminate the letter motion at docket
                                                               Sarah M. Sacks
number 617.

Dated: January 11, 2021
New York, New York
